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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 18-20336-CR-ALTONAGA/GOODMAN

 UNITED STATES OF AMERICA,

 v.

 DELANEY EQUITY GROUP LLC,

       Defendant.
 ______________________________/

                                NOTICE OF RELATED ACTION

        The United States of America respectfully files this Notice of Related Action, pursuant to

 Rule 3.8, Local Rules of the United States District Court for the Southern District of Florida, and

 as described in Section 2.15.00 of the Court’s Internal Operating Procedures, to apprise the Court

 that certain similar actions that are related to the instant action have been previously filed and/or

 are pending in the Southern District of Florida. This case is related to the Shell Factory Fraud

 group of cases, in which the United States has previously filed seven separate cases charging

 twelve different defendants: John Ahearn and Andrew Wilson, Case No. 17-20883-CR-KMW;

 United States v. James M. Schneider, Case No. 17-20712-CR-FAM; United States v. Myron

 Gushlak and Yelena Furman, Case No. 17-20713-CR-CMA; United States v. David Lubin, Case

 No. 17-20508-CR-MGC; United States v. Sheldon Rose and Ian Kass, Case No. 16-20706-CR-

 JEM; United States v. Steven Sanders and Alvin S. Mirman, Case No. 16-20572-CR-CMA; and,

 United States v. Daniel McKelvey and Jeffrey Lamson, Case No. 16-20546-CR-RNS. Defendant

 James M. Schneider is pending trial, currently scheduled to begin during the two-week trial

 calendar beginning August 20, 2018. Defendants John Ahearn and Andrew Wilson have entered
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 guilty pleas and have not yet been sentenced. Defendant Myron Gushlak’s case has been placed

 into fugitive status. The remaining cases have been closed.

        The United States files this Notice pursuant to the requirements of Local Rule 3.8, and

 otherwise takes no position as to whether the matters should be heard by the same presiding judge.

 Dated: April 26, 2017

                                                Respectfully submitted,

                                                RANDY A. HUMMEL
                                                ATTORNEY FOR THE UNITED STATES,
                                                ACTING UNDER AUTHORITY
                                                CONFERRED BY 28 U.S.C. § 515

                                          By:      s/ Jerrob Duffy
                                                 Jerrob Duffy
                                                 Assistant United States Attorney
                                                 Court No. A5501106
                                                 Jerrob.Duffy@usdoj.gov
                                                 United States Attorney’s Office
                                                 Southern District of Florida
                                                 99 Northeast 4th Street
                                                 Miami, Florida 33132-2111
                                                 Tel: (305) 961-9273
                                                 Fax: (305) 530-6168
